      Case 5:15-cv-00108 Document 81 Filed on 02/07/19 in TXSD Page 1 of 2
                                                                                                United States District Court
                                                                                                  Southern District of Texas

                               UNITED STATES DISTRICT COURT
                                                                                                     ENTERED
                                SOUTHERN DISTRICT OF TEXAS                                        February 07, 2019
                                     LAREDO DIVISION                                              David J. Bradley, Clerk


GREGORY SPRINGER,                                      §
                                                       §
        Plaintiff,                                     §
                                                       §
V.                                                     §               CIVIL ACTION NO. 5:15-cv-108
                                                       §
ORTELIO RODRIGUEZ, et al.,                             §
                                                       §
        Defendants.                                    §

                           AMENDED ORDER SETTING MEDIATION

        The Court held a status conference in this case on February 5, 2019, during which the

parties jointly proposed the rescheduling of the mediation date, and the parties have subsequently

confirmed availability on a date provided by the Court for a full-day mediation.

        Accordingly, the Court SETS a full-day mediation for March 25, 2019, beginning at

9:00 a.m. in courtroom 2C.

        The parties, their counsel, and any settlement representatives such as insurance company

representatives shall appear in-person for the mediation. Each party must have persons present

with adequate settlement authority and discretion proportionate to a reasonable evaluation of the

settlement value of this matter.

        Additionally, the parties should submit1 (not file) to the Magistrate Judge a confidential

settlement statement the following information by March 18, 2019:

        (1) Name, title, address and telephone number of settlement representative(s), party

            representatives, and counsel who will attend the mediation;

        (2) Any travel or scheduling considerations of the attendees which will affect the length

            of the mediation.


1
  The parties may contact the Court’s case manager to arrange delivery of the confidential settlement statement,
either by email or by other means.

                                                 Page 1 of 2
Case 5:15-cv-00108 Document 81 Filed on 02/07/19 in TXSD Page 2 of 2


 (3) Status of discovery (complete; substantially complete; incomplete);

 (4) Whether the parties have enough information to fully evaluate settlement value and

    make a settlement offer—if not, state what further information is needed;

 (5) A statement of the settlement proposals exchanged, including the terms and

    conditions of Plaintiffs’ last settlement demand and the terms and conditions of

    Defendant’s last offer in settlement, including identifying any matters or issues which

    any party believes has been an obstacle to settlement;

 (6) Issues affecting the settlement process or potential settlement agreement, such as

    existence of liens, joint or separate settlement offers to individual claimants, separate

    claims such as bodily injury vs. property damage, etc.;

 (7) Concise statement of points (factual, legal, practical) which they believe are relevant

    to the settlement value of the case; and

 (8) Selected evidence (i.e. documents, reports, deposition excerpts) which the parties

    believe would be helpful to the mediation process. However, this should be kept to

    the minimum number of pages. For example, it is not appropriate to submit an entire

    deposition transcript.

 IT IS SO ORDERED.

 SIGNED on February 7, 2019, at Laredo, Texas.


                                                  _______________________________
                                                  John A. Kazen
                                                  United States Magistrate Judge




                                    Page 2 of 2
